
PER CURIAM.
We conclude that the circuit court departed from the essential requirements of law by denying the petitioner’s request for mandamus relief without affording him the opportunity to reply to the respondent below. See Jones v. Singletary, 709 So.2d 656 (Fla. 1st DCA 1998); Bard v. Wolson, 687 So.2d 254 (Fla. 1st DCA 1996). Accordingly, the circuit court’s order denying the petition for writ of mandamus is quashed, and this case is remanded to the *271circuit court for further proceedings. We note that the petitioner’s count for declaratory judgment remains pending in the circuit court.
WOLF, WEBSTER and BROWNING, JJ., concur.
